 

 

Case 4:09-cr-09S 73-SBA Document 40 Filed 8D Page 1 of 6

AO 257 (Rev. 6/78)

 

 

 

 

 

 

 

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY: O COMPLAINT INFORMATION O INDICTMENT Name of District Court, and/or Judge/Magistrate Location
R
OFFENSE CHARGED [x] SUPERSEDING NORTHERN DISTRICT OF CALIFORNIA
OAKLAND DIVISION
18 U.S.C. § 1592 - Unlawful Conduct Regarding Documents CT] Petty
in Furtherance of Forced Labor; 18 U.S.C. § 1594(d) - By e
Criminal Forfeiture [] Minor (~ DEFENDANT ¥ q
Misde- 4, &
LI meanor FANG PING DING Ap
»
Ops See 2g
Felony ly he AL, C; A
PENALTY: Count One (18 U.S.C. § 1592): five (5) years imprisonment, DISTRICT COURT NUMBER Ay ue On 10

OS. Onn”
$250,000 fine, three (3) years supervised release, $100 special CR 09-00573 SBA Tne
assessment, restitution, forfeiture May OR, Cont Go
Me

Ny

 

L DEFENDANT

(———--——_ PROCEEDING IS NOTIN CUSTODY

Name of Complainant Agency, or Person (& Title, if any) 1) hee detained give date ary nenoome this proceeding.

ICE and FBI Summons was served on above charges _

 

 

 

q person is awaiting trial in another Federal or State Court, 2) ([] Is a Fugitive
give name of court

3) [x] Is on Bail or Release from (show District)
NORTHERN DISTRICT OF CALIFORNIA

 

 

O this person/proceeding is transferred from another district
per (circle one) FRCrp 20, 21, or 40. Show District
IS IN CUSTODY

4) [] On this charge

 

this is a reprosecution of
oO charges previously dismissed 5) [_] On another conviction

: _ . SHOW
h d ti Federal State
wt ich were dismissed on motion DOCKET NO. CJ CO

O q 6) [_] Awaiting trial on other charges
U.S. ATTORNEY DEFENSE

If answer to (6) is "Yes", show name of institution

 

this prosecution relates to a

 

 

 

 

 

 

 

 

 

. If "v “
[] pending case involving this same Has detainer L_] Yes give date
defendant MAGISTRATE been filed? N
CASE NO LJ No filed
. DATE OF > Month/Day/Year
prior proceedings or appearance(s)
C] before U.S. Magistrate regarding this ARREST
defendant were recorded under Or... if Arresting Agency & Warrant were not
Name and Office of Person DATE TRANSFERRED Month/Day/Year
Furnishing Information on this form __JOSEPH P. RUSSONIELLO TO U.S. CUSTODY
[x] U.S. Attorney [[] Other U.S. Agency
Name of Assistant U.S. C] This report amends AO 257 previously submitted
Attorney (if assigned) AUSA ANDREW S. HUANG .

 

ADDITIONAL INFORMATION OR COMMENTS

 

 

PROCESS:
[-] SUMMONS NO PROCESS* [_] WARRANT Bail Amount:

If Summons, complete following:
[J Arraignment [[] Initial Appearance

Defendant Address:

* Where defendant previously apprehended on compiaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Date/Time: Before Judge:

 

Comments:

 

 

 
 

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AO 257 (Rev. 6/78) wi

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

 

 

 

 

 

 

 

 

 

 

 

BY: O COMPLAINT INFORMATION O INDICTMENT Name of District Court, and/or Judge/Magistrate Location
NORTHERN DISTRICT OF CALIFORNIA
->——— OFFENSE CHARGED SUPERSEDING
OAKLAND DIVISION
8 U.S.C. §§ 1324(a)(1)(A)(iii) and (B)(i) - Harboring an Illegal CJ Petty —
Alien for Private Financial Gain; 18 U.S.C. § 982(a)(6) - ,
Criminal Forfeiture O Minor (~ DEFENDANT
, gO Misde- &.
meanor > WEI WEI LIANG May . LA
t o 7S fee
Felony % ao
PENALTY: Count Two (8 U.S.C, § 1324(a)(1)(A)(iii) and (B)(i): ten (10) years DISTRICT COURT NUMER 8a AR W 10
imprisonment, $250,000 fine, three (3) years supervised release, CR 09-00573 SBA “ERY ois Digy, lE Ky
$100 special assessment, restitution, forfeiture 6 ater Cr coNG
| i
L r DEFENDANT
PROCEEDING IS NOTIN CUSTODY
: ttle: Has not been arrested, pending outcome this proceeding.
Name of Complainant Agency, or Person (& Title, if any) 1) 0 If not detained give date any prior
ICE and FBI Summons was served on above charges _
person is awaiting trial in another Federal or State Court, 2 Is a Fugitive
O ) 9

give name of court
3) Is on Bail or Release from (show District)
NORTHERN DISTRICT OF CALIFORNIA

 

 

Oo this person/proceeding is transferred from another district
per (circle one) FRCrp 20, 21, or 40. Show District
IS INCUSTODY

4) ([] On this charge

 

this is a reprosecution of

Oo charges previously dismissed 5) (] On another conviction

 

 

 

 

 

 

 

 

 

 

 

 

 

 

wnch were dismissed on motion D On KET NO. ([] Federal [_] State
: 6) [_] Awaiting trial on other charges
LJ us. ATTORNEY L] DEFENSE If answer to (6) is "Yes", show name of institution
this prosecution relates to a "Yes"
[_] pending case involving this same Has detainer L] Yes sive date
defendant MAGISTRATE been filed?
CASE NO LJ No filed
‘ DATE OF » Month/Day/Year
prior proceedings or appearance(s)
[_] before U.S. Magistrate regarding this ARREST
defendant were recorded under Or... if Arresting Agency & Warrant were not
Name and Office of Person DATE TRANSFERRED Month/Day/Year
Furnishing Information on this form __ JOSEPH P. RUSSONIELLO TO U.S. CUSTODY
[x] U.S. Attorney [[] Other U.S. Agency
Name of Assistant U.S. CJ This report amends AO 257 previously submitted
ADDITIONAL INFORMATION OR COMMENTS
PROCESS:

[-] SUMMONS NO PROCESS* [_] WARRANT Bail Amount:

if Summons, complete following:

: itial r; * Where defendant previously apprehended on complaint, no new summons or
O Arraignment O Initial Appearance warrant needed, since Magistrate has scheduled arraignment
Defendant Address:

Date/Time: Before Judge:

 

Comments:

 

 

 

 
 

 

 

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AO 257 (Rev. 6/78)

 

 

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

py: LJ COMPLAINT INFORMATION O INDICTMENT
SUPERSEDING

 

 

OFFENSE CHARGED
8 U.S.C. §§ 1324(a)(1)(A)(iii) and (B)(i) - Harboring an Illegal C] Petty
Alien for Private Financial Gain; 18 U.S.C. § 982(a)(6) ~
Criminal Forfeiture [[] Minor
O Misde-
meanor
Felony

PENALTY: Count Two (8 U.S.C. § 1324(a)(1)(A)(iii) and (B)(i)): ten (10) years
imprisonment, $250,000 fine, three (3) years supervised release,
$100 special assessment, restitution, forfeiture

Name of District Court, and/or Judge/Magistrate Location

NORTHERN DISTRICT OF CALIFORNIA

OAKLAND ee |

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DISTRICT COURT NUMBER me S Dick Wy,
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CR 09-00573 SBA Oa? 9 FOUR
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DEFENDANT

 

(— DEFENDANT

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PROCEEDING
Name of Complainant Agency, or Person (& Title, if any)

ICE and FBI

Oo person is awaiting trial in another Federal or State Court,
give name of court

 

oO this person/proceeding is transferred from another district
per (circle one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of
J charges previously dismissed

: _ . SHOW
hich were d ssed on motion
whe were dismissed on moti DOCKET NO.

[_] U.S. ATTORNEY = [[] DEFENSE

this prosecution relates to a
CT] pending case involving this same
defendant MAGISTRATE

CASE NO.
prior proceedings or appearance(s)

CJ before U.S. Magistrate regarding this
defendant were recorded under

 

Name and Office of Person
Furnishing Information on this form JOSEPH P. RUSSONIELLO

 

 

 

[x] U.S. Attorney [] Other U.S. Agency

Name of Assistant U.S.

Attorney (if assigned) AUSA ANDREW S, HUANG

 

IS NOTIN CUSTODY

Has not been arrested, pending outcome this proceeding.
1) O if not detained give date any prior
summons was served on above charges >

2) (J Is a Fugitive

3) Is on Bail or Release from (show District)
NORTHERN DISTRICT OF CALIFORNIA

 

IS IN CUSTODY
4) [J] On this charge

5) (] On another conviction
[_] Federal [] State

6) ([] Awaiting trial on other charges
If answer to (6) is "Yes", show name of institution

 

 

Has detainer L_] Yes } sive date

been filed? Oo No filed

DATE OF » Month/Day/Year

ARREST

Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

 

 

 

 

 

 

PROCESS:
(-] SUMMONS NO PROCESS* [] WARRANT

If Summons, complete following:
[_] Arraignment [[] Initial Appearance

Defendant Address:

Date/Time:

 

Comments:

ADDITIONAL INFORMATION OR COMMENTS

Bail Amount:

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment .

C] This report amends AO 257 previously submitted

 

Before Judge:

 

 
 

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JOSEPH P. RUSSONIELLO (CABN 44332)
United States Attorney

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

OAKLAND DIVISION
UNITED STATES OF AMERICA, ) No. CR 09-00573 SBA
)
Plaintiff, ) VIOLATIONS:
)
V. ) 18 U.S.C. § 1592 — Unlawful Conduct
) Regarding Documents in Furtherance of
FANG PING DING, ) Forced Labor; 8 U.S.C. §§ 1324(a)(1)(A)(iii)
WEI WEI LIANG ) and (B)(i) — Harboring an Illegal Alien for
a/k/a Xian Hui Liang and ) Private Financial Gain; 18 U.S.C.
Wei Wei Shen, and ) §§ 982(a)(6) and 1594(d) — Criminal
BO SHEN, ) Forfeiture
)
Defendants. ) OAKLAND VENUE
)

 

SUPERSEDING INFORMATION
The United States Attorney charges:
COUNT ONE: (18 U.S.C. § 1592 — Unlawful Conduct Regarding Documents in
Furtherance of Forced Labor)
Beginning some time in or about April 2008 and continuing until on or about April 18,

2009, in the Northern District of California, the defendant,

FANG PING DING,
did knowingly conceal, remove, confiscate, and possess the actual and purported passport,

immigration document, and government identification document of a person, GXK, in the course

SUPERSEDING INFORMATION
No. Cr 09-00573 SBA 1

 

 

 
 

 

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of a violation of Title 18, United States Code, Section 1589, and with intent to violate Title 18,

United States Code, Section 1589, all in violation of Title 18, United States Code, Section 1592.

COUNT TWO: (8 U.S.C. §§ 1324(a)(1)(A)(iii) and (B)(G) — Harboring an Illegal Alien for
Private Financial Gain)

Beginning in or about April 2008 and continuing to on or about April 18, 2009, in the
Northern District of California, the defendants,

WEI WEI LIANG and
BO SHEN,

knowing and in reckless disregard of the fact that an alien, namely, GXK, had come to, entered,
and remained in the United States in violation of law, did conceal, harbor, and shield from
detection, and did attempt to conceal, harbor, and shield from detection, such alien in buildings
and other places, for the purpose of private financial gain, all in violation of Title 8, United States

Code, Sections 1324(a)(1)(A)(iii) and (B)(i).

FIRST FORFEITURE ALLEGATION: (18 U.S.C. § 1594(d) — Criminal Forfeiture)

 

Upon conviction of the offense alleged in Count One of this Superseding Information, the

defendant,
FANG PING DING,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 1594(d), any
interest in any property, real and personal, that was used or intended to be used to commit or
facilitate the commission of the offense of which the person is convicted, including but not
limited to the following:

a. 685 Bogalusa Court, Fremont, California, also known as Alameda County parcel

number 519-1654-76, tracer number 37348200.

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SUPERSEDING INFORMATION
No. CR 09-00573 SBA 2

 

 

 

 

 

 
 

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SECOND FORFEITURE ALLEGATION: (18 U.S.C. § 982(a)(6) — Criminal F orfeiture)
Upon conviction of the offense alleged in Count Two of this Superseding Information,
the defendants,
WEI WEI LIANG, and
BO SHEN,
shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(6), any
property, real and personal, that was used to facilitate, and was intended to be used to facilitate,

the commission of the offense of which the person is convicted, including but not limited to the

following:
a. 685 Bogalusa Court, Fremont, California, also known as Alameda County parcel
number 519-1654-76, tracer number 37348200.

DATED: May 26, 2010 JOSEPH P. RUSSONIELLO
United States Attorney

-

nw |
STEPHEN CORRIGAN
Deputy Chief, Oakland Branch

(Approved as to form: MH oe )

ANDREW S. HU.
Assistant United States Attorney

SUPERSEDING INFORMATION
No. CR 09-00573 SBA 3

 

 

 

 
